Case 1:25-mi-00029-UNA

JS44 (Rev. 9/2024 NDGA)

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Page 1 of 2
NA 890

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The JS44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service o plea ings or other papers as requ y law, 63, as provided by
local rules of court. This form is required for the use of the Clerk of Court for the purpose of initiating the civil docket record. (SEE INSTRUCTIONS ATTACHED)

I. (a) PLAINTIFF(S)
SouthPoint Bank

(b) COUNTY OF RESIDENCE OF FIRST LISTED
PLAINTIFF _ Jefferson County, AL
(EXCEPT LN U.S. PLAINTIFF CASES)

DEFENDANT(S)
Life Hope Equipment Leasing, LLC; Lifehope Labs, LLC;
Scott Crandall Honan

COUNTY OF RESIDENCE OF FIRST LISTED
DEFENDANT __ Fulton County, GA
(LN U.S. PLAINTIFF CASES ONLY)

NOTE: IN LAND CONDEMNATION CASES, USE THE LOCATION OF THE TRACT OF LAND
INVOLVED

(c) ATTORNEYS cnx yame, avpgess, 1ELEPHONE NUMBER, AND

E-MAIL ADDRESS)

Kenneth Boyles, Jr.

Phelps Dunbar LLP

2025 3rd Avenue North, Suite 1000
Birmingham, AL 35203
kenneth.boyles@phelps.com

ATTORNEYS xxow»

Il. BASIS OF JURISDICTION

(PLACE AN “X” LN ONE BOX ONLY)

Ch U.S. GOVERNMENT Cs FEDERAL QUESTION
PLALNIIFF (U.S. GOVERNMENI NOL A PARTY)

O 2 U.S. GOVERNMENT 4 DIVERSITY
DEFENDANI (INDICATE CILIZENSHIP OF PARTIES

IN ITEM I)

Il. CITIZENSHIP OF PRINCIPAL PARTIES
(PLACE AN “X” LN ONE BOX FOR PLAINTIFF AND ONE BOX FOR DEFENDANT)
(FOR DIVERSITY CASES ONLY)
DEF PLF

DEF
nO. MH, CITIZEN OF THIS STATE Oo, MH,
LI, LI, CITIZEN OF ANOTHER stare] 5 Ll.
OO, OO, CITIZEN OR SUBJECT OF A O. XO.

FOREIGN COUNTRY

INCORPORATED OR PRINCIPAL
PLACE OF BUSLNESS LN THIS STATE

INCORPORATED AND PRINCIPAL
PLACE OF BUSLNESS LN ANOTHER STALE

FOREIGN NATION

IV. ORIGIN etact an«x «tN one Box ONLY)

Ch ORIGINAL C1: REMOVED FROM Os; REMANDED FROM CO: REINSTATED OR Cs ANOTHER DISTRICT
APPELLAIE COURI

PROCEEDING STALE COURL

MULIIDISTRICI
8 LITIGATION -
DIRECT FILE

TRANSFERRED FROM CO] MULIIDISTRICT CT APPEAL 10 DISIRICI JUDGE
6 LITIGATION - 7 FROM MAGISTRATE JUDGE
MENT

REO. (Specify District) TRANSFER

JRISDICTIONAL STATUTES UNLESS DIV

V. CAUSE OF ACTION (GTETHE Us, CIVIL STATUTE UNDER WHICH ¥ you ARE FILING AND WRITE A BRIEF STATEMENT OF CAUSE - DO NOT CITE

Registration of Judgment f from another district

OY

YES NO

(IF COMPLEX, CHECK REASON BELOW)
C1.
C2.
Os.
Ca.
Os.

Unusually large number of parties.

Unusually large number of claims or defenses.
Factual issues are exceptionally complex
Greater than normal volume of evidence.

Extended discovery period is needed.

Does the relief requested in the complaint or petition seek to bar or mandate statewide and/or nationwide enforcement of a
state and/or federal law, including a rule, regulation, policy, or order of the executive branch or a state and/or federal agency,
whether by declaratory judgment and/or any form of injunctive relief?

L] «.
Oz.
O 8. Multiple use of experts.
O ».
O 10.

Problems locating or preserving evidence

Pending parallel investigations or actions by government.

Need for discovery outside United States boundaries.

Existence of highly technical issues and proof.

CONTINUED ON REVERSE
FOR OFFICE USE ONLY
RECEIPT # AMOUNT §, APPLYING IFP MAG. JUDGE (FP)
JUDGE, MAG. JUDGE, NATURE OF SUIT, CAUSE OF ACTION,

Case 1:25-mi-00029-UNA Document 1-2

VI. NATURE OF SUIT (PLACE AN “X” LN ONE BOX ONLY)

CONTRACI - "0" MONTHS DISCOVERY TRACK
150 RECOVERY OF OVERPAYMENT &
ENFORCEMENT OF JUDGMENT
(7 152 RECOVERY OF DEFAULTED STUDENT
LOANS (Excl. Veterans)
193 RECOVERY OF OVERPAYMENT OF
VELERAN’S BENEFITS

CONTRACT - "4" MONTHS DISCOVERY TRACK
110 INSURANCE

120 MARINE

130 MILLER ACI

140 NEGOTIABLE INSTRUMENT

151 MEDICARE ACT

160 STOCKHOLDERS' SUITS

190 OTHER CONTRACT

195 CONTRACT PRODUCT LIABILITY
196 FRANCHISE

REAL PROPERTY - "4" MONTHS DISCOVERY
TRACK  =—<—sCS~;C;C;3XWHThChkh

210 LAND CONDEMNATION

220 FORECLOSURE

230 REN] LEASE & EJECIMENT
240 TORTS LO LAND

24) TORT PRODUCY LIABILITY
290 ALL OTHER REAL PROPERTY

TORTS - PERSONAL INJURY - "4" MONTHS
DISCOVERY TRACK

310 AIRPLANE
31) AIRPLANE PRODUCTI LIABILITY
320 ASSAULT, LIBEL & SLANDER
330 FEDERAL EMPLOYERS’ LIABILITY
340 MARINE
345 MARINE PRODUCT LIABILITY
330 MOTOR VEHICLE
33) MOTOR VEHICLE PRODUCTI! LIABILITY
360 OTHER PERSONAL INJURY
[_] 362 PERSONAL INJURY - MEDICAL
MALPRACTICE
365 PERSONAL INJURY - PRODUCT LIABILITY
[J 367 PERSONAL INJURY - HEALTH CARE/
PHARMACEUTICAL PRODUCT LIABILITY
oO 368 ASBESTOS PERSONAL INJURY PRODUCT
LIABILITY

TORTS - PERSONAL PROPERTY - "4" MONTHS
DISCOVERY TRACK

3/0 OL HER FRAUD

3/1 TRUTH LN LENDING

380 OTHER PERSONAL PROPERTY DAMAGE
385 PROPERTY DAMAGE PRODUCT LIABILITY

BANKRUPTCY - "0" MONTHS DISCOVERY TRACK

422 APPEAL 28 USC 158
423 WITHDRAWAL 28 USC 157

CIVIL RIGHTS - "4" MONTHS DISCOVERY TRACK

440 OTHER CIVIL RIGHTS

C) 441 VOTING
442 EMPLOYMENT
443 HOUSING/ ACCOMMODATIONS
445 AMERICANS with DISABILITIES - Employment
446 AMERICANS with DISABILITIES - Other

(J 448 EDUCATION

IMMIGRATION - "0" MONTHS DISCOVERY TRACK

Filed 04/24/25

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SOCLAL SECURITY - "0" MONTHS DISCOVERY
ra SSS

861 HIA (13958)

862 BLACK LUNG (923)
863 DIWC (405(@))

863 DIWW (405(g))

864 SSID TITLE XV1L
865 RSI (405(¢))

a TAX SUITS - "4" MONTHS DISCOVERY
u'

462 NATURALIZATION APPLICATION
46) OLHER IMMIGRATION ACLIONS

PRISONER PETITIONS - "0" MONTHS DISCOVERY
TRACK = =—“t—CS<S~;C;C;3;K KCl

463 HABEAS CORPUS- Alien Detainee

310 MOLIONS TO VACATE SENTENCE

330 HABEAS CORPUS

535 HABEAS CORPUS DEATH PENALTY

540 MANDAMUS & OTHER

550 CIVIL RIGHTS - Filed Pro se

555 PRISON CONDITION(S) - Filed Pro se
CJ 360 CIVIL DELALNEE: CONDITIONS OF

CONFINEMENT

PRISONER PETITIONS - "4" MONTHS DISCOVERY
TRACK  =—(s ;Tt”™~*~*~C‘“‘S;~; }RCrhCO

T ] 550 CIVIL RIGHTS - Filed by Counsel
[[] 555 PRISON CONDITION(S) - Filed by Counsel

FORFEITURE/PENALTY - "4" MONTHS DISCOVERY
TRACK =—i“‘(Z)SCs;C™;~™~™~™SCS~SCCCCCTCTCCTCCSCS

“~~ TE] 625 DRUG RELATED SEIZURE OF PROPERTY
21 USC 881
(0 690 OTHER

LABOR - "4" MONTHS DISCOVERY TRACK
[_] 710 FAIR LABOR STANDARDS ACT
720 LABOR/MGMT. RELATIONS
740 RAILWAY LABOR ACT
751 FAMILY and MEDICAL LEAVE ACT
790 OTHER LABOR LITIGATION
791 EMPL. RET. INC. SECURITY ACI

PROPERTY RIGHTS - "4" MONTHS DISCOVERY
LOO

[_] 820 COPYRIGHTS
840 TRADEMARK
880 DEFEND TRADE SECRETS ACT OF 2016 (DTSA)

PROPERTY RIGHTS - "8" MONTHS DISCOVERY
TRACK
Cl 830 PATENT
oO $35 PALENI-ABBREVIATED NEW DRUG
APPLICATIONS (ANDA) - a/k/a
Hatch-Waxman cases

[_] 870 TAXES (US. Plaintiff or Defendant)
CI 8/1 LRS - THIRD PARTY 26 USC /609

OTHER STATUTES - "4" MONTHS DISCOVERY
TRACK = =—<“M«C<;<;3;3XZCThté<;<; CO

375 FALSE CLAIMS ACT

376 Qui Tam 31 USC 3729(a)

400 SLATE REAPPORTIONMENT

430 BANKS AND BANKING

450 COMMERCEICC RATES/ETC.

460 DEPORTATION

470 RACKETEER INFLUENCED AND CORRUPT

ORGANIZATIONS

480 CONSUMER CREDIT

485 TELEPHONE CONSUMER PROTECTION ACT

490 CABLE/SATELLITE TV

890 OTHER STATUTORY ACTIONS

891 AGRICULTURAL ACIS

893 ENVIRONMENTAL MATTERS

895 FREEDOM OF INFORMATION ACT 899

899 ADMINISTRATIVE PROCEDURES ACI /

REVIEW OR APPEAL OF AGENCY DECISION

O 990 CONSTITUTIONALITY OF STATE STATUTES

OTHER STATUTES - "8" MONTHS DISCOVERY
OO

410 ANTITRUST
850 SECURITIES / COMMODITIES / EXCHANGE

OTHER STATUTES - “0" MONTHS DISCOVERY
TRACK =~=—SOsté“iCS;SC;~C~*;*;*™~™COCCOCTTOC

CO 896 ARBITRATION
(Confimm / Vacate / Order / Modify)

* PLEASE NOTE DISCOVERY
TRACK FOR EACH CASE
TYPE. SEE LOCAL RULE 26.3

VII. REQUESTED IN COMPLAINT:

CHECK IF CLASS ACTION UNDER F.R.Civ.P. 23

DEMAND S$

JURY DEMAND oO YES O NO (CHECK YES ONLY IF DEMANDED IN COMPLAINT)

VIII. RELATED/REFILED CASK(S) IF ANY

JUDGE

DOCKET NO.

CIVIL CASES ARE DEEMED RELATED IF THE PENDING CASE INVOLVES: (CHECK APPROPRIATE BOX)
(1. PROPERTY INCLUDED IN AN EARLIER NUMBERED PENDING SUIT.
([)2. SAME ISSUE OF FACT OR ARISES OUT OF THE SAME EVENT OR TRANSACTION INCLUDED IN AN EARLIER NUMBERED PENDING SUIT.

(03. VALIDITY OR INFRINGEMENT OF THE SAME PATENT, COPYRIGHT OR TRADEMARK INCLUDED IN AN EARLIER NUMBERED PENDING SUIT.
((14. APPEALS ARISING OUT OF THE SAME BANKRUPTCY CASE AND ANY CASE RELATED THERETO WHICH HAVE BEEN DECIDED BY THE SAME

BANKRUPTCY JUDGE.

(15. REPETITIVE CASES FILED BY PRO SE LITIGANTS.
(116. COMPANION OR RELATED CASE TO CASE(S) BEING SIMULTANEOUSLY FILED (INCLUDE ABBREVIATED STYLE OF OTHER CASE(S)):

(17. EITHER SAME OR ALL OF THE PARTIES AND ISSUES IN THIS CASE WERE PREVIOUSLY INVOLVED IN CASE NO.

DISMISSED. Yhiscase [J 1s [Co isnoi (check one box) SUBSTANTIALLY LHE SAME CASE.

» WHICH WAS

Cc > =,

4/24/2025

SIGNATURE OF ATTORNEY OF RECORD

DATE
